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                        IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF KANSAS



In re Syngenta AG MIR 162                                    MDL No. 2591
Corn Litigation
                                                    Case No. 2:14-md-2591-JWL-JPO


This document relates to:

    Tuttle v. Syngenta Corp., et al., No. 2:14-
    cv-02554-JWL-JPO

    Bentlage v. Syngenta Corp., et al., No.
    2:15-cv-02033-JWL-JPO

    Hamilton v. Syngenta Corp., et al., No.
    2:15-cv-02061-JWL-JPO

    Moore v. Syngenta Corp., et al., No. 2:15-
    cv-02187-JWL-JPO


                                  NOTICE OF APPEARANCE

        Christopher A. Seeger of the law firm Seeger Weiss LLP enters his appearance as

counsel for the Plaintiffs in the above-referenced constituent actions in this multidistrict

litigation.

                                                              Respectfully submitted,

Dated: March 26, 2018                                         /s/ Christopher A. Seeger
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                                  CERTIFICATE OF SERVICE

       I hereby certify that on March 26, 2018, the foregoing Notice of Appearance was

electronically filed with the Clerk of the Court using the CM/ECF system, which will send

notification to all counsel of record.

                                            /s/ Christopher A. Seeger
                                            Christopher A. Seeger




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